                                  Case 24-11377                   Doc 1        Filed 06/17/24            Page 1 of 17

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Fisker Group Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer
      Identification Number (EIN)
                                              8    1 – ___
                                              ___ ___  3 ___
                                                           8 ___
                                                              8 ___
                                                                 3 ___
                                                                    3 ___
                                                                       4 ___
                                                                          2


 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  14          Centerpointe Drive
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  La Palma                     CA         90623
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Orange
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.fiskerinc.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Fisker Group Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3 ___
                                             ___ 3 ___
                                                    6 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Fisker Group Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases             No
      filed by or against the debtor
      within the last 8 years?                Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                   District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                  Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                         District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                            MM / DD / YYYY
      attach a separate list.                          Case number, if known ________________________________



 11. Why is the case filed in this           Check all that apply:
      district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have              No
      possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                     Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




              Statistical and administrative information




 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor        Fisker Group Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             06/17/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8 /s/ John C. DiDonato
                                             _____________________________________________                 John C. DiDonato
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor      Fisker Group Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Robert J. Dehney, Sr.
                                          _____________________________________________            Date         06/17/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Robert J. Dehney, Sr.
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Morris, Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201 N. Market Street, 16th Floor
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________ 19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 658-9200
                                         ____________________________________                             rdehney@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          3578
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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      Fill in this information to identify the case:

      Debtor name     Fisker Group Inc.
      United States Bankruptcy Court for the:                                       District of Delaware
                                                                                            (State)
      Case number (If known):
                                                                                                                                                       Check if this is an
                                                                                                                                                          amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number, and              Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code          email address of creditor                (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                                  debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                           government
                                                                                           contracts)
                                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                                partially         value of           claim
                                                                                                                                secured           collateral or
                                                                                                                                                  setoff
     ADOBE                                                                                IT / SOFTWARE                                                              $     2,042,952.21
1    345 PARK AVE                               PHONE: 408-536-2800
     SAN JOSE, CA 95510                         FAX: 408-537-6000
                                                EMAIL: VIP-DIRECT-AMER@ADOBE.COM




     BERTRANDT US, INC. 1775                                                              RESEARCH &                                                                 $     1,660,000.00
2    WEST HAMLIN ROAD                           PHONE: 248-598-5100                       DEVELOPMENT
     ROCHESTER HILLS, MI 48309                  FAX: 248-598-5106
                                                EMAIL: GERRIT.SCHMIDT@BERTRANDT.COM



     AVNET INC                                                                            TRADE                                                                      $     1,343,100.23
3    2211 S. 47TH STREET                        PHONE: 810-626-8956; 480-643-2000
     PHOENIX, AZ 85034                          EMAIL: JOEL.FISHMAN@AVNET.COM




     GOOGLE LLC                                                                           SALES & MARKETING                                                          $     1,237,811.31
4    1600 AMPHITHEATRE PARKWAY                  PHONE: 650-253-0000
     MOUNTAIN VIEW, CA 94043                    EMAIL: COLLECTIONS@GOOGLE.COM




     SAP AMERICA INC.                                                                     IT / SOFTWARE                                                              $     1,206,174.51
5    3999 WEST CHESTER PIKE                     PHONE: 610-661-1000
     NEWTOWN SQUARE, PA 19073                   EMAIL: FINANCEAR@SAP.COM




     MANPOWERGROUP US INC 100                                                             PROFESSIONAL SERVICES                                                      $     1,081,384.05
6    MANPOWER PL                                PHONE: 414-961-1000
     MILWAUKEE, WI 53212                        EMAIL: ANDREW.PULASKI@MANPOWER.COM




     TESSOLVE DTS INC 3910                                                                RESEARCH &                                                                 $     1,077,395.00
7    N, FIRST STREET SAN                        PHONE: 408-865-0873                       DEVELOPMENT
     JOSE, CA 95134                             FAX: 408-865-0896
                                                EMAIL: SALES@TESSOLVE.COM



     PRELUDE SYSTEMS INC                                                                   IT / SOFTWARE                                                             $      660,053.72
8    5 CORPORATE PARK, SUITE 140                PHONE: 949-208-7126
     IRVINE, CA 92606                           EMAIL: PRADEEP_P@PRELUDESYS.COM




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             page 1
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                        Fisker Group Inc.
    Debtor              Name                                                                                   Case number (if known)




     Name of creditor and complete                 Name, telephone number, and         Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code           email address of creditor           (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                   contact                             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                                       professional        unliquidated, total claim amount and deduction for value of
                                                                                       services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)
                                                                                                                                  Total claim, if   Deduction for   Unsecured
                                                                                                                                  partially         value of        claim
                                                                                                                                  secured           collateral or
                                                                                                                                                    setoff
     NBC UNIVERSAL LLC                                                                 SALES & MARKETING                                                            $      649,999.97
9    30 ROCKEFELLER PLAZA                         EMAIL: GAVIN.LAU@NBCUNI.COM
     NEW YORK, NY 10112




     STRATUS-X LLC, DBA XD INNOVATION AMERICA                                          IT / SOFTWARE                                                                $      616,000.00
10 9800 MOUNT PYRAMID COURT, SUITE 400            PHONE: 855-934-8326
     ENGELWOOD, CO 80112                          EMAIL: MCARRABINO@XDINNOVATION.COM




     I.G. BAUERHIN GMBH                                                                TRADE                                                                        $      593,345.93
11 WIESENSTR. 29 HESSEN                           PHONE: 49 6051 826-0
     GRUNDAU, 63584 GERMANY                       EMAIL: ANDRZEJ.DYMEK@BAUERHIN.COM




     URGENTLY INC.                                                                     IT / SOFTWARE                                                                $      548,686.66
12 8609 WESTWOOD CENTER DRIVE, SUITE 810          EMAIL: THUFFMYER@GETURGENTLY.COM
     VIENNA, VA 22182




     SALESFORCE.COM, INC                                                               IT / SOFTWARE                                                                $      527,652.43
13 415 MISSION STREET, 3RD FLOOR                  PHONE: 415-901-8457
     SAN FRANCISCO, CA 94105                      EMAIL: WFERRIS@SALESFORCE.COM




     FEDEX                                        MARK MASTER                          FREIGHT & DELIVERY                                                           $      499,966.12
14 MARK MASTER                                    PHONE: 310-743-
     P.O. BOX 7221                                3501
     PASADENA, CA 91109-7321                      EMAIL: MARK.MASTER@FEDEX.COM



     VECTOR NORTH AMERICA INC.                                                         IT / SOFTWARE                                                                $      496,813.35
15 39500 ORCHARD HILL PLACE SUITE 400             PHONE: 248-449-9290
     NOVI, MI 48375                               FAX: 248-449-9704
                                                  EMAIL: SALES@US.VECTOR.COM



     ANSYS INC 2600                                                                    RESEARCH &                                                                   $      492,050.00
16 ANSYS DR                                       EMAIL: KYLE.KAPLAN@ANSYS.COM         DEVELOPMENT
     CANONSBURG, PA 15317




     TOMTOM NORTH AMERICA, INC. 11                                                     TRADE                                                                        $      468,526.08
17 LAFAYETTE STREET                               EMAIL: ROYALTYDEPT@TOMTOM.COM
     LEBANON, NH 03766




     HL MANDO (SUZHOU) AUTOMOTIVE SYSTEM                                               TRADE                                                                        $      453,027.85
18 CO.,LTD.                                       PHONE: 86-512-8228-9888
     NO.328, MAYUN ROAD, HIGH-TECH ZONE SUZHOU,   FAX: 86-512-6665-3022
     JS 215129                                    EMAIL: HUI.WANG@HLCOMPANY.COM
     CHINA


     BROADRIDGE ICS BROADRIDGE INVESTOR                                                PROFESSIONAL SERVICES                                                        $      412,922.90
19 COMMUNICATION                                  PHONE: 800-353-0103
     P.O. BOX 416423 BOSTON,                      EMAIL: INVOICES@BROADRIDGE.COM
     MA 02241-6423



     MOURI TECH LLC                                                                    IT / SOFTWARE                                                                $      400,561.10
20 1183 W JOHN CARPENTER FWY                      PHONE: 972-756-1500
     IRVING, TX 75039                             EMAIL: SIVAD@MOURITECH.COM




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                            page 2
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

FISKER GROUP INC.,                                                   Case No. 24-[•] ([•])

                   Debtor.




                          CORPORATE OWNERSHIP STATEMENT
                         AND LIST OF EQUITY INTEREST HOLDERS

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), and to enable the Judges to evaluate possible
disqualification or recusal, attached hereto as Exhibit A is a corporate structure chart (the
“Corporate Structure Chart”) reflecting the ownership interests of Fisker Inc., the
ultimate parent of debtor Fisker Group Inc. (the “Debtor”). The Debtor respectfully
represents, as of the date hereof, the following:

                1. Each of the entities1 identified on the Corporate Structure Chart, other than
                   Fisker Inc., is owned in its entirety by its direct parent.

                2. Fisker Inc. is the ultimate parent of the Debtor, and its equity securities are
                   publicly held as follows (as of April 8, 2024):

                    Class of Common
                                                Amount Authorized                Amount Outstanding
                          Stock
                             A                      2,000,000,000                    1,250,822,032

                             B                       150,000,000                      132,354,128

                3. There are no entities that own 10% or more of the issued and outstanding
                   common stock of Fisker Inc.




         1
             The address of the Debtor’s corporate headquarters is 14 Centerpointe Drive, La Palma, CA 90623.
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                    Exhibit A

            Corporate Structure Chart
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                                                                                                                               Ownership       17
                                                                                                                                             100%                                          Active


Fisker – Organizational Chart                                                                                                   unless otherwise
                                                                                                                                    indicated
                                                                                                                                                                                           Dormant
                                                                                                                                                                                           Active/Non-Operational
                                                                                                                                                                                           Chapter 11 Debtor




                                                                                                                                                                                                                            Privileged and Confidential
                                                                                                                                                                                                                                         davispolk.com
                                                                Fisker Inc.
                                                                (Delaware)




                                                               Fisker Group
                                                                   Inc.
  Henrik Fisker                                                 (Delaware)
      CEO
                           Asia                                                                                             North America

  0.01%           99.99%                                                                                                                                                                                1%

                                                                                                                                                                                                                      99%
     Fisker Vigyan India          Fisker (Shanghai)                                                   Blue Current                                     Terra                   Fisker               Ocean EV, S. de
                                                                              Fisker TN LLC                                Platinum IPR LLC
       Private Limited               Motors Ltd.                                                      Holding LLC                                    Energy Inc.             Canada Ltd.             R.L. de C.V.
                                                                               (Tennessee)                                     (Delaware)
           (India)                     (China)                                                         (Delaware)                                    (Delaware)               (Canada)                 (Mexico)


                                                       Europe


                                  Fisker Belgium          Fisker Denmark                                                           Fisker Ireland              Fisker                     Fisker
       Fisker GmbH                                                               Fisker France SAS           Fisker GmbH
                                        B.V.                    ApS                                                                    Limited            Netherlands B.V.          Netherlands Sales
         (Austria)                                                                    (France)                (Germany)
                                     (Belgium)               (Denmark)                                                                (Ireland)            (Netherlands)            B.V. (Netherlands)



                                                                                              Fisker Switzerland     Fisker Switzerland          Fisker (GB)
                    Fisker Norway AS            Fisker Spain          Fisker Sweden AB
                                                                                                   IP GmbH               Sales GmbH                Limited
                        (Norway)                   (Spain)                (Sweden)
                                                                                                 (Switzerland)          (Switzerland)         (United Kingdom)
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                               CERTIFICATE OF SECRETARY
                                                OF
                                     FISKER GROUP INC.

        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed
to such terms in Exhibit A annexed hereto. The undersigned, Corey MacGillivray, Secretary of the
Fisker Group Inc. (the “Company”) hereby certifies on behalf of the Company in his capacity as
an officer of the Company and not in any other capacity that, attached hereto as Exhibit A is a true,
correct and complete copy of the resolutions of the Board of Directors of the Company, effective
June 17, 2024, that were passed at a meeting on June 17, 2024, with a quorum of the Board of
Directors present. Such resolutions have not in any way been amended, modified, revoked or
rescinded, are in full force and effect on the date hereof and constitute all of the resolutions with
respect to the matters covered thereby.
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         IN WITNESS WHEREOF, the undersigned has executed this Certificate and caused this
 Certificate to be delivered this 17th day of June 2024.



_________________________
Corey MacGillivray, Secretary




                         [Signature Page to Secretary Certificate]
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                        Exhibit A

                        See attached.
                  Case 24-11377        Doc 1    Filed 06/17/24      Page 14 of 17




                   Resolution of the Board of Directors of Fisker Group Inc.
                                        June 17, 2024


       WHEREAS, the Board of Directors (the “Board”) of Fisker Group Inc. (the “Company”)
has reviewed and had the opportunity to ask questions about the materials presented by the
management, the Chief Restructuring Officer, and the legal and financial advisors of the Company
regarding the liabilities and liquidity of the Company, the strategic alternatives available, and the
impact of the foregoing on the Company’s business;

        WHEREAS, the Board has had the opportunity to consult with the CRO, management and
the legal and financial advisors of the Company to fully consider each of the strategic alternatives
available to the Company;

       WHEREAS, the Board has received, reviewed, and considered the recommendations of,
and the materials presented by, the management and the legal and financial advisors of the
Company regarding the relative risks and benefits of pursuing a case under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

        WHEREAS, the Board has reviewed with the CRO, the management and the legal and
financial advisors of the Company the resolutions set forth below; and

        WHEREAS, the Board (a) has determined that taking the actions set forth below and the
transactions contemplated hereby are advisable and fair to, and in the best interests of, the
Company and its stakeholders and, therefore, (b) has adopted the resolutions set forth below and
authorized and approved the transactions, agreements, and actions contemplated hereby:

         Commencement of Chapter 11 Case

        RESOLVED, that the Board has determined, after due consultation with the CRO,
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders that the Company shall be, and hereby is,
authorized to file, or cause to be filed, a petition seeking relief (a “Chapter 11 Case”) under the
provisions of chapter 11 of the Bankruptcy Code, and any other petition for relief or recognition
or other order that may be desirable under applicable law in the United States;

         RESOLVED, FURTHER, that each officer, including the Chief Restructuring Officer,
director, or manager of the Company (each, an “Authorized Person”), is authorized, empowered,
and directed to (a) execute and file in the name and on behalf of the Company, and under its
corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
pleadings, orders, and other documents in the United States Bankruptcy Court for Delaware (the
“Bankruptcy Court”), (b) employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers, and other professionals, and (c) take and perform any and
all further acts and deeds that such Authorized Person, who may act without the joinder of any
other Authorized Person, deems necessary, proper, or desirable in connection with the Chapter 11
Cases, including (i) negotiating, executing, delivering, and performing under any and all
documents, agreements, certificates, and instruments in connection with the transactions and
professional retentions set forth in this resolution, (ii) appearing as necessary at all bankruptcy
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proceedings in the Bankruptcy Court on behalf of the Company, and (iii) paying all such expenses
where necessary or appropriate in order to carry out fully the intent and accomplish the purposes
of the resolutions adopted herein; and

        RESOLVED, FURTHER, that the Company is authorized, and each Authorized Person
shall be, and hereby is, authorized, empowered, and directed on behalf of and in the name of the
Company to seek to have its Chapter 11 Case administered by the Bankruptcy Court under chapter
11 of the Bankruptcy Code.

 General Authorization and Ratification

        RESOLVED, that each Authorized Person shall be, and hereby is authorized, empowered,
and directed, on behalf of and in the name of the Company, to (a) do and perform all such acts and
things and enter into, execute, acknowledge, deliver, and file all such certificates, agreements,
acknowledgments, instruments, contracts, statements, and other documents and to take such
further actions as such Authorized Person may deem necessary or appropriate to effect the intent
and accomplish the purposes of the foregoing resolutions, the taking of such action or the execution
and delivery thereof to be conclusive evidence of the approval thereof, (b) perform the Company’s
obligations under the Bankruptcy Code and exercise all rights of the Company under the
Bankruptcy Code (including all rights with respect to contracts, agreements, and leases under
sections 365 of the Bankruptcy Code), with all such actions to be performed in such manner, and
all such certificates, instruments, guaranties, notices, and documents to be executed and delivered
in such form, as the Authorized Person performing or executing the same shall approve, the
performance or execution thereof to be conclusive evidence of the approval thereof by such
Authorized Person, the Board, and the Company, and (c) pay fees and expenses in connection with
the transactions contemplated by the foregoing resolutions;
       RESOLVED, FURTHER, that the omission from this written consent of any (a) agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing resolutions or (b) action to be taken in accordance with any
requirement of any of the agreements or instruments described in the foregoing resolutions shall
in no manner derogate from the authority of the Authorized Persons to take all actions necessary,
desirable, advisable, or appropriate to consummate, effectuate, carry out, or further the transactions
contemplated by, and the intent and purposes of, the foregoing resolutions;

        RESOLVED, FURTHER, that, to the extent that any Authorized Person serves as the sole
member, managing member, manager, general partner, partner, or other governing body
(collectively, a “Controlling Company”), in each case, of any direct or indirect subsidiary of the
Company (a “Controlled Company”), each such Authorized Person who may act without the
joinder of any other Authorized Person, be, and hereby is, authorized, empowered, and directed in
the name and on behalf of such Controlling Company (acting for such Controlled Company in the
capacity set forth above, as applicable), to (a) authorize such Controlled Company to take any
action that any Authorized Person is authorized to take hereunder and/or (b) take any action on
behalf of such Controlled Company that an Authorized Person is herein authorized to take on
behalf of such Controlling Company (including execution and delivery of any authorizing
resolutions);

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        RESOLVED, FURTHER, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waive any right to have received such
notice;

        RESOLVED, FURTHER, that any and all actions taken by any officer or director of or
advisor to the Company prior to the date of adoption of the foregoing resolutions, which would
have been authorized by the foregoing resolutions but for the fact that such actions were taken
prior to such date, be, and each hereby is, ratified, approved, confirmed, and adopted as a duly
authorized act of the Company in all respects and for all purposes; and

       RESOLVED, FURTHER, that this consent may be executed in one or more counterparts,
and delivered by electronic means, each of which, when so executed, shall be treated in all manner
and respects and for all purposes as one and the same original, written consent, and shall be
considered to have the same binding legal effect as if it were an original manually signed
counterpart hereof delivered in person.




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 Fill in this information to identify the case and this filing:


              Fisker Group Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.

                            06/17/2024
        Executed on ______________                         8 /s/ John C. DiDonato
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 John C. DiDonato
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
